Case 4:18-cv-00673-GKF-FHM Document 249 Filed in USDC ND/OK on 02/14/20 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

   THE UNITED STTES OF AMERICA, ex rel.                    )
   J. DOUGLAS STRAUSER, et al.,                            )
                                                           )
                                   Plaintiffs,             )
                                                           )
           v.                                              )       Case No. 18-CV-673-GKF-FHM
                                                           )
   STEPHEN L. LAFRANCE HOLDINGS, INC.,                     )
   et al.,                                                 )
                                                           )
                                   Defendants.             )

                                         OPINION AND ORDER

           Both sides have filed motions to extend or modify the current Scheduling Order to

   permit additional discovery.1          Plaintiff has also filed a motion to take additional

   depositions.2 The issues have been fully briefed and a telephone hearing was held on

   February 7, 2020.

           In broad terms both sides contend they have diligently conducted discovery but

   have been unable to complete necessary discovery within the current deadline because

   of actions or inaction of the other side or non-parties. The responses generally question

   the diligence of the other side, the relevance of additional discovery, and seek to deny or

   limit the other sides’ requested discovery.

           The court is persuaded that both sides have been reasonably diligent in their

   discovery efforts. The court is also persuaded that the general areas of additional party

   and non-party discovery set forth in the motions are relevant for discovery purposes and




   1
     Defendants’ First Motion for an Extension to Complete Third-Party Fact Discovery [Dkt. 198]; Relator’s
   Motion to Modify Scheduling Order to Extend Discovery by Thirty Days. [232].
   2
     Relator’s Expedited Motion for Leave to Depose Defendants’ Likely Trial Witnesses. [Dkt. 201].
Case 4:18-cv-00673-GKF-FHM Document 249 Filed in USDC ND/OK on 02/14/20 Page 2 of 2




   necessary for a fair resolution of the case on its merits. The court therefore finds good

   cause to extend the current Scheduling Order.

          Although the parties request a thirty or sixty day extension, the court finds that a

   ninety day extension of all dates is more realistic. Each side may take ten additional

   depositions. A separate Scheduling Order will be entered.

          The court expects a high level of cooperation between the parties to complete the

   discovery process. If disputes arise which cannot be resolved by good faith efforts of the

   parties, appropriate motions shall be promptly filed. Responses shall be filed within seven

   days, and replies within three days.

          Defendants’ First Motion for an Extension to Complete Third-Party Fact Discovery,

   [Dkt. 198], Relator’s Expedited Motion for Leave to Depose Defendants’ Likely Trial

   Witnesses, [Dkt. 201], and Relator’s Motion to Modify Scheduling Order to Extend

   Discovery by Thirty Days, [Dkt. 232], are hereby GRANTED as set forth herein. The

   briefing schedule for future discovery matters is altered as further set forth herein.

          SO ORDERED this 14th day of February, 2020.




                                                2
